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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:18-10001-05-JDB
                                    )
EDDIE GERVIN,                      )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on April 18, 2019, Assistant United States Attorney, Jerry Kitchen,
appearing for the Government and the defendant, Eddie Gervin, appearing in person, and with counsel,
Bede Anyanwu.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 15 of the Superseding Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

      SENTENCING in this case is SET for WEDNESDAY, APRIL 24, 2019 at 11:00 A.M., before
Judge J. Daniel Breen.

       Defendant is to remain released on present bond.

       ENTERED this the 18th day of April, 2019.


                                                    s/J. DANIEL BREEN
                                                    U.S. DISTRICT JUDGE
